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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
vs.                                                §                   CASE NO. 4:23-CR-218
                                                   §
HARDIK JAYANTILAL PATEL                            §


              DEFENDANTS HARDIK PATEL’S UNOPPOSED MOTION
            TO EXTEND SENTENCING DATE AND RELATED DEADLINES

        Defendant Hardik Patel respectfully moves the Court to extend the current sentencing date

of May 20, 2024 and related pre-sentencing deadlines by 60 days, thereby resetting sentencing for

on or after July 19, 2024.

        On May 17, 2023, a grand jury indicted Hardik Patel for conspiracy to commit mail fraud

and wire fraud, mail fraud, and conspiracy to commit money laundering. (Doc. No. 1). On

December 1, 2023, Patel pled guilty to Count 1 of the indictment, pursuant to a written plea

agreement. (Doc. 41). The Court ordered the PSI to be completed by February 9, 2024, objections

to the PSI to be filed by February 23, 2024, the final PSI to be completed by March 8, 2024, and

sentencing set for March 18, 2024 (Doc. 43). On January 30, 2024, the Court granted defendant’s

unopposed motion to continue sentencing for 60 days. Doc. 56.

        For the reasons set forth in the sealed attachment to this motion, defendant Hardik Patel

respectfully requests that the sentencing dates set by the Court be extended by an additional 60

days.

         As stated in the below Certificate of Conference, counsel for the United States has no

objection to the requested extension.
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       WHEREFORE, Hardik Patel respectfully requests this Court grant his motion for a 60-day

extension of the previously-entered sentencing dates.



Respectfully submitted,

                                            HOLLAND & KNIGHT, LLP

                                            By:     /s Steven A. Block
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                                            COUNSEL FOR DEFENDANT
                                            HARDIK PATEL




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                            CERTIFICATE OF CONFERENCE

       I certify that undersigned counsel for Defendant Hardik Patel contacted the following
counsel, who have stated that they are unopposed to Defendant Hardik Patel’s Motion to Extend
Sentencing Date and Related Deadlines: Stephanie Bauman, counsel for the United States.


                                                    /s Steven A. Block
                                                    Steven A. Block

                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of this above and foregoing document was served via

ECF on this 15th day of March, 2024.

                                                    /s Steven A. Block
                                                    Steven A. Block




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